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                                                                                             2022 Dec-15 AM 09:52
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


               IN THE NORTHERN DISTRICT COURT OF ALABAMA
                              SOUTHERN DIVISION
Diversified Maintenance-RWS, LLC,    )
Plaintiff,                                       )
                                                 )
v.
                                                 )                   Case No.:
                                                 )
City Storage Systems LLC d/b/a CSS,
                                                 )
Defendant.                                       )


                                         COMPLAINT
COMES NOW Diversified Maintenance-RWS, LLC, the Plaintiff in the above-styled civil
action, and for its Complaint respectfully shows this honorable Court the following:
                          JURISDICTION, VENUE AND SERVICE
     1. Defendant City Storage Systems LLC d/b/a CSS is a domestic/foreign corporation/LLC
        organized and existing under the laws of the state of Delaware whose Registered
        Agent, Corporation Service Company (Which Will Do Business In California As CSC -
        Lawyers Incorporating Service), may be served with process at 1401 Baldy View Cir
        Corona, CA 92882-8085.
     2. Jurisdiction is appropriate in this Court per the underlying service agreement executed by
        both parties, venue is proper, and the Defendant is subject to the jurisdiction of this
        Court.
                                             FACTS
     4. Beginning in November 2, 2020, the Plaintiff and the Defendant, City Storage Systems
        LLC d/b/a CSS entered into an agreement whereby Plaintiff agreed to furnish goods
        and/or services to Defendant City Storage Systems LLC d/b/a CSS. In exchange for
        timely receiving said materials, City Storage Systems LLC d/b/a CSS agreed to timely
        pay invoices in full. Defendant, City Storage Systems LLC d/b/a CSS , also agreed that
        any controversy arising from this Agreement shall be exclusively adjudicated in the U. S.
        District Court of the Northern District of Alabama. A true and correct copy of the
        Defendant's Application for Credit with the Plaintiff is attached hereto as Exhibit A and
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       is incorporated herein by reference.
   5. During the course of the services completed by Plaintiff, it timely fulfilled the requested
       orders as directed by the Defendant, City Storage Systems LLC d/b/a CSS.
   6. The Plaintiff issued issued invoices and Statements of Account concerning the work and
       supplies contributed to the location and sent it to the Defendant, see Exhibits "B" and
       "C".
   7. The Defendant failed to make payments due on the Agreement as required by its terms;
       consequently, the Defendant has defaulted and remains in default on the payments due on
       the Agreement.
   8. Plaintiff has complied with all terms and provisions of the agreement and has timely
       supplied all goods and services in a good and workmanlike manner.
                            COUNT I - BREACH OF CONTRACT
   9. All statements and allegations contained in the previous Paragraphs of this Complaint are
       hereby incorporated into this Count by reference.
   10. The Agreement is still in default for, among other possible events of default, failure to
       pay the sums due under the terms of the Agreement.
   11. The Defendant is indebted to the Plaintiff in the amount of $30,629.61, plus all other
       charges due and owing, including but not limited to additional interest at an annual
       interest rate of 6.00%, reasonable attorney's fees, post-judgment interest and court costs.
WHEREFORE, Diversified Maintenance-RWS, LLC prays demands judgment against
Defendant for the principal sum of $30,629.61, with plus interest, attorney's fees and costs due
by Breach of Contract.
                               COUNT II - ACCOUNT STATED
   12. The Plaintiff incorporates each and every preceding paragraph of this Complaint in this
       Count as if fully set forth herein.
   13. Plaintiff claims of the Defendant the sum of $30,629.61, due by account stated, which
       sum of money, with interest thereon is due and unpaid.
   14. This count is brought on an Affidavit of a competent witness, enclosed herewith as
       Exhibit "B" and incorporated by reference herein, supported by an Invoices, a copy of
       which is attached hereto as Exhibit "C" and incorporated by reference herein.
WHEREFORE, Diversified Maintenance-RWS, LLC prays demands judgment against
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Defendant for the principal sum of $30,629.61, with plus interest, attorney's fees and costs due
by account stated.
                            COUNT III -UNJUST ENRICHMENT
   15. The Plaintiff incorporates each and every preceding paragraph of this Complaint in this
       Count as if fully set forth herein.
   16. As a result of the Plaintiff's services, the Defendant received the benefit of the Plaintiff's
       goods and services. Based upon the above and foregoing, the Defendant knowingly
       accepted and retained a benefit by the use of Plaintiff's services. The Defendant has been
       unjustly enriched by the use of the services provided by Plaintiff.
   17. The Defendant received a benefit from Plaintiff's services provided for its own benefit
       and was unjustly enriched therefrom. Plaintiff has a reasonable expectation of being
       compensated for this taking.
   18. The Defendant is indebted to the Plaintiff in the amount of $30,629.61 pursuant to
       Defendant's unjust enrichment.
WHEREFORE, Diversified Maintenance-RWS, LLC prays demands judgment against
Defendant for the principal sum of $30,629.61, with plus interest, attorney's fees and costs due
by unjust enrichment.


Done this November 9, 2022.
                                       By: /s/_Brian M Cloud___________
                                               Brian M. Cloud (ASB-4833-A62C)
                                               Attorney for Plaintiff

Cloud, Willis & Ellis, LLC
3928 Montclair Road, Suite 227
Birmingham, Alabama 35213
(205) 322-6060

DEFENDANT TO BE SERVED BY PRIVATE PROCESS SERVER:


City Storage Systems LLC d/b/a CSS
c/o Corporation Service Company (Which Will Do Business In California As CSC - Lawyers
Incorporating Service) Registered Agent
1401 Baldy View Cir
Corona, CA 92882-8085
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